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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                  Case No. 4:08-cr-00332-JMM

ROBERT EARLY                                                                    DEFENDANT

                                           ORDER

       Defendant has filed an affidavit (Doc. No. 170) in response to the September 23, 2011

Amended Order. The Court has reviewed the affidavit and finds that Defendant is eligible for

appointed counsel in his sentence reduction proceedings.

       IT IS SO ORDERED this 5th day of October, 2011.



                                                   ____________________________________
                                                    UNITED STATES MAGISTRATE JUDGE
